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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


PERKINS COIE LLP,

Plaintiff,

v.

U.S. DEPARTMENT OF JUSTICE,
FEDERAL COMMUNICATIONS
                                     Civil Action No. 25-716
COMMISSION, OFFICE OF
MANAGEMENT AND BUDGET,
EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION, OFFICE
OF PERSONNEL MANAGEMENT,
GENERAL SERVICES
ADMINISTRATION, OFFICE OF THE
DIRECTOR OF NATIONAL
INTELLIGENCE, THE UNITED STATES
OF AMERICA, and, in their official
capacities, PAMELA J. BONDI,
BRENDAN CARR, RUSSELL T.
VOUGHT, ANDREA R. LUCAS,
CHARLES EZELL, STEPHEN
EHEKIAN, and TULSI GABBARD,

Defendants.




                 DEFENDANTS’ OPPOSITION TO PLAINTIFF’S

                       MOTION FOR LEAVE TO AMEND
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       In response to Plaintiff’s April 23, 2025, oral motion to amend its complaint pursuant to

Federal Rule of Civil Procedure 15(a), the Defendants U.S. Department of Justice, Federal

Communications Commission, Office of Management and Budget, Equal Employment

Opportunity Commission, Office of Personnel Management, General Services Administration,

Office of the Director of National Intelligence, the United States of America, Pamela J. Bondi,

Brendan Carr, Russell T. Vought, Andrea R. Lucas, Charles Ezell, Stephen Ehekian, and Tulsi

Gabbard (collectively, “Defendants”) respectfully submit that, for the reasons set forth herein,

the Court should deny Plaintiff’s motion.

       As noted in Defendants’ motion for reconsideration (ECF 44 “Motion to Reconsider”)

and referenced during oral argument on April 23, 2025, Plaintiff has sought to bind non-

defendant executive agencies to the current temporary restraining and proposed permanent

injunction. In response to the Motion to Reconsider, Plaintiff orally moved to amend the

complaint to add as defendants the executive branch entities listed in its attachment to its

proposed permanent injunction.

       The Defendants respectfully submit that, while the list establishes the exact entities that

Plaintiffs seek to enjoin, this only solves half of the problem. Plaintiff still must establish Article

III standing as to its proposed additional defendants. “No principle is more fundamental to the

judiciary’s proper role in our system of government than the constitutional limitation of federal-

court jurisdiction to actual cases or controversies.” Raines v. Byrd, 521 U.S. 811, 818 (1997).

That limitation finds expression in the doctrine of standing, which requires that a plaintiff

invoking federal jurisdiction “must have (1) suffered an injury in fact, (2) that is fairly traceable

to the challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable

judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).
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       Pertinent to the issue before the Court is the principle that standing “is not dispensed in

gross,” and “a plaintiff must demonstrate standing for each claim he seeks to press against each

defendant.” Garcia v. Stewart, 531 F. Supp. 3d 194, 205 (D.D.C. 2021) (emphasis added).

Accordingly, it is not sufficient to simply name the pertinent agencies. Plaintiff must also allege

how the challenged conduct is traceable to each proposed new defendant. Defendants’

respectfully submit that the current Complaint does allege this traceable nexus between injuries it

has suffered and the proposed additional defendants. Accordingly, this Court should deny

Plaintiff’s motion to amend with additional defendants.

 Dated: April 24, 2025                       Respectfully submitted,
        Washington, DC

                                             CHAD MIZELLE
                                             Acting Associate Attorney General


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